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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

          -v-                                                   No. 12-cr-45-2 (RJS)
                                                                      ORDER
 JERMAINE DORE,

                               Defendant.



RICHARD J. SULLIVAN, Circuit Judge:

         Defendant Dore’s resentencing is scheduled to take place on January 15, 2021 at 3:00 p.m.

in Courtroom 12D at the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY,

10007. (Doc. No. 671). The Court has determined that this proceeding complies with Chief Judge

McMahon’s recently amended standing order regarding the curtailment of in-person proceedings

because (i) Dore declines to waive his right to be physically present and (ii) the re-sentencing

cannot be postponed as it has already been pending for over a year, making any further delays

inappropriate. See generally Standing Order, 20-mc-622 (CM) (S.D.N.Y. Jan. 5, 2021).

         In light of the ongoing COVID-19 pandemic, a public line will be made available during

the sentencing. Members of the public may monitor the proceeding through the Court’s free audio

line by dialing 1-888-363-4749 and using access code 3290725#.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York
                                                     ___________________________
                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
